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  F.#2022R0 I030                                                   U.S. DISTRICT COURT E.O.N.Y.

  UNITED STATES DISTRJCTCOURT                                      *      JUN 2 2 2023        *
  EASTERN DISTRICT OF NEW YORK
  --------------------------------X                                LONG ISLAND OFFICE

  UNITED STATES OF AMERICA

         -against-                                      STIPULATION & PROTECTIVEORDER

  GEORGE ANTHONY DEVOLDER
  SANTOS,                                                       23-CR-197 (JS)
      also known as "George Santos,"

                              Defendant.
  --------------------------------X
                 IT IS HEREBY STIPULATED AND AGREED by the undersigned attorneys and

  ORDERED by the Court, pursuant to Federal Rule of Criminal Procedure 16(d), that:

                 1.      All material and information disclosed or produced by the government to

  the defendant (the "Defendant") and the Defendant's counsel ("Defense Counsel") in the above-

  captioned case (hereinafter, the ··Confidential Discovery Materials''), including, but not limited to,

  material and information disclosed or produced pursuant to Rule 16 of the Federal Rules of

  Criminal Procedure; 18 U.S.C. § 3500; Brady v. Maryland, 373 U.S. 83 ( 1963); or Giglio v. United

  States, 405 U.S. 150 (1972), shall be governed by this protective order (the HProtective Order").

  Materials and information the Defendant or Defense Counsel obtains from sources other than the

  government in this case, or materials and information that were produced by or obtained directly

  from the Defondant are not Confidential Discovery Materials, even if they are later disclosed or

  produced by the government.

                 2.      Confidential Discovery Materials. however designated. and any and all

  copies. notes, transcripts. documents. and other information and materials derived or prepared from

  the Confidential Discovery Materials, may be used by the Defendant, Defense Counsel and
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  Defense Staff (which is defined as non-lawyer staff employed by Defense Counsel, as well as

  expert witnesses, investigators and interpreters retained by Defense Counsel) only for the purposes

  of defending against the charges in the above-captioned case, including but not limited to

  preparation for pre-trial hearings, trial and any sentencing. appeal, or collateral attack (commenced

  within a year of the exhaustion of the Defendant's appellate rights) involving the charges in the

  above-captioned case.

                  3.      Defense Counsel shall review the terms of this Protective Order with the

  Defendant and members of the Defense Staff. Further. Defense Counsel shall have the Defendant

  and every member of the Defense Staff sign an acknowledgement form provided by the

  government affirming that they understand the terms of the Protective Order and consequences of

  violating the Protective Order prior to reviewing any of the Confidential Discovery Materials.

  Defense Counsel shall keep an accounting of the pages of the Confidential Discovery Materials

  provided to members of the Defense Staff absent prior agreement of the government or permission

  of the Court.

                  4.      Defense Counsel may disclose or discuss Confidential Discovery Materials

  to or with a person being contacted or interviewed by Defense Counsel or Defense Staff as a

  potential witness, provided that Defense Counsel first has taken the following steps: (a) provided

  to each such individual a copy of this Protective Order and advised each such individual that he or

  she may not further disclose or discuss any portion of the Confidential Discovery Materials, or any

  copies, notes, transcripts. or documents derived or· prepared from the Confidential Discovery

  Materials; (b) admonished each such individual that any violation of the Protective Order, as

  detem1ined by the Court, may result in a finding of contempt of Court; and (c) recorded in a log to

  be retained in Defense Counsers files the name of each such individual and the date on which

  Defense Counsel took each of the steps detailed above in subparagraphs 4(a)-(b) (the "Confidential
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  Discovery Materials Disclosure Protocol"). Defense Counsel may provide a copy of Confidential

  Discovery Materials to potential witnesses or their counsel, provided that Defense Counsel follows

  the Confidential Discovery Materials Disclosure Protocol prior to sharing Confidential Discovery

  Materials with such potential witnesses and directs such potential witnesses to delete the

  Confidential Discovery Materials after use. Before disclosing Confidential Discovery Materials

  pursuant to this paragraph, Defense Counsel must redact infonnation of the type identified in Rule

  49.l(a) of the Federal Rules of Criminal Procedure.

                 5.      Except as otherwise provided m this Protective Order, any and all

  Confidential Discovery Materials disclosed or produced to the Defendant and/or Defense Counsel

  by the government, and any copies, notes. transcripts. documents. and other information and

  materia!s derived or prepared from the Confidential Discovery Materials, shall not be further

  disclosed, disseminated, or discussed by the Defendant, Defense Counsel, or Defense Staff to, or

  with, any individuals, organizations, or other entities.

                 6.      None of the Confidential Discovery Materials nor any copies, notes,

  transcripts, documents, or other information and materials derived or prepared from the

  Confidential Discovery Materials shall be disseminated to, or discussed with, the media in any

  form. Nothing in this Protective Order prohibits the media from obtaining copies of any items that

  become public exhibits at any conference, hearing, trial~ or other proceeding.

                 7.      Absent prior agreement of the government or permission of the Court,

  Confidential Discovery Materials shall not be included by Defense Counsel in any public filing

  with the Court, and instead shall be submitted under seal. This restriction does not apply to

  documems that are or become part of the public domain (other than through a violation of the

  Protective Order) or the public court record, including documents that have been received in

  evidence at other trials. This restriction further does not apply to materials or information that are

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  acquired by Defense Counsel from sources other than the government in this case, or materials and

  information that were produced by or obtained directly from the Defendant, even if they are later

  disclosed or produced by the government.

                 8.     If the government and Defense Counsel do not agree that certain material

  should be designated as Confidential Discovery Material. Defense Counsel may provide notice to

  the government and a reasoned explanation why the Defendant does not believe the materials

  qualify as Confidential Discovery Material. To the extent the parties do not agree. Defense

  Counsel may make an application to the Court and seek to establish good cause regarding why the

  material should not be treated as Confidential Discovery Material. The Defendant shall treat the

  material as Confidential Discovery Material pending any determination by the Court.

                 9.      If the Defendant obtains substitute counsel, the Defendant, Defense Staff,

  or Defense Counsel will not transfer any portion of the Confidential Discovery Materials or any

  copies, notes, transcripts, documents, or other information and materials derived or prepared from

  the Confidential Discovery Materials unless and until such counsel becomes counsel of record, has

  been provided a copy of this Protective Order. signs this Protective Order. and provides a signed

  copy to the government.

                 I0.     The Defendant may review Confidential Discovery Materials specifically

  identified by the government as sensitive discovery material (the '"Sensitive Discovery Material")

  only in the presence of or by video conference with Defense Counsel or Defense Staff. The

  Defendant is prohibited from having possession, custody, or control of the Sensitive Discovery

  Material, and any and all copies, notes, transcripts, documents, and other information and materials

  derived or prepared from the Sensitive Uiscovery Material.

                 11.     The Defendant, Defense Counsel. and Defense Staff shall not obtain or

  create any copies of the Sensitive Discovery Material for disclosure or dissemination to any person
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 other than Defense Counsel and Defense Staff.

                 12.     If Defense Counsel chooses to share the Sensitive Discovery Material with

  the Defendant, a witness. and/or a witness·s counsel, that Sensitive Discovery Material must be

 shared in the presence of or by video conference with Defense Counsel or Defense Staff.

                 13.     Any documents, material, or information determined to be Sensitive

 Discovery Material may be so designated by stamping the legend '"SENSITIVE., on the document

 or by otherwise indicating to Defense Counsel the appropriate designation of the material or

  inforn1ation. While each page of a sensitive document and its attachments may be marked, it shat I

  be assumed that a sensitive designation on the first page of a document indicates the same sensitive

 designation for the entire document and its attachments. unless otherwise noted. Where electronic

  files or documents are produced in a format that makes stamping impractical, such files and

 documents may be designated via notice appended to the media on which such tiles or documents

 are produced or added to the name of the file or electronic folder in which the file is located.

                 14.     If the government and Defense Counsel do not agree that certain material

 should be designated as Sensitive Discovery Material, Defense Counsel may provide notice to the

 government and a reasoned explanation why the Defendant does not believe the materials require

  treatment as Sensitive Discovery Material. To the extent the parties do not agree. Defense Counsel

  may make an application to the Court and seek to establish good cause regarding why the material

 should not be treated as Sensitive Discovery Material. The Defendant shall treat the material as

 Sensitive Discovery Material pending any determination by the Court.

                 I5.     A copy of this Protective Order shall be kept with the Confidential

  Discovery Materials at all times.

                 16.    The Defendant and Defense Counsel will return to the government the

 Confidential Discovery Materials and the Sensitive Discovery Material, and all copies thereof.

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  whether in the possession of the Defendant. Defense Counsel. Defense Staff, or any other signatory

  to this Protective Order, when the Defendant concludes all efforts to defend against the charges in

  the above-captioned case and any superseding indictment, including but not limited to preparing

  for trial and any sentencing, appeal, or collateral attack (commenced within a year of the

  exhaustion of the Defendanfs appellate rights) involving the charges in the above-captioned case.

                 17.    Nothing in this Protective Order shall preclude the government or the

  Defendant from seeking a further order pursuant to Rule I6(d) as to particular items of the

  Confidential Discovery Materials.

                 18.    Nothing in this Protective Order in any way releases counsel for the

  government or Defense Counsel from the obligations of the "Free Press-Fair Trial Directives" of

  Local Rule 23.1 of the Local Criminal Rules of the Eastern District of New York. In the event the

  terms of this Protective Order are violated, Defense Counsel or the government shall advise the

  Court and opposing counsel immediately of the nature and circumstances of such violation.




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                           I9.    This Court shall retain jurisdiction over all persons subject to this Order to

            the extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

           contempt thereot:

            Dated:        Central Islip. New York
                          June'!Z, 2023

                                                                 BREON PEACE
                                                                 United States Attorney
                                                                 Eastern District of New York



            oseph Murray. Esq.                                   Ryan~is
           Attorney for Defendant                                Anthony Bagnuola
                                                                 Laura Zuckerwise
                                                                 Assistant United States Attorneys

                                                                 COREY R. AMUNDSON
                                                                 Chiet: Public Integrity Section
                                                                 U.S. Depart ent of ustice

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                                                                 Jolee Porter
                                                                 Jacob R. Steiner
                                                                 Trial Attorneys



            SO ORDERED.




            ~0NORAB~EJOA~ASEYBERT
            t.li<i1TED STATES DISTRICT JUDGE
            EASTERN DISTRICT OF NEW YORK




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